                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
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BENSHOT, LLC, a Wisconsin Limited
Liability Company,

          Plaintiff,
v.                                                      Case No.: 18-CV-1716

LUCKY SHOT USA LLC, a Florida
Limited Liability Company, and

2 MONKEY TRADING LLC, a Florida
Limited Liability Company,

Douglas Ingalls
      Defendants.
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                        FIRST AMENDED COMPLAINT
______________________________________________________________________________

          Plaintiff BenShot, LLC, a Wisconsin Limited Liability Company (“BenShot”), by its

attorneys, as and for its Complaint against Defendants Lucky Shot USA LLC, a Florida Limited

Liability Company (“Lucky Shot USA”) and 2 Monkey Trading LLC, a Florida Limited Liability

Company (“2 Monkey”) and Douglas Ingalls (“Ingalls”), a Florida Resident allege as follows:

                                            PARTIES

     1.   BenShot is a Wisconsin Limited Liability Company with its headquarters located at 140

Industrial Park Avenue, Hortonville, Wisconsin 54944. BenShot manufactures, promotes, sells,

and distributes unique drinking glasses and sells its products throughout the United States,

including the State of Wisconsin.

     2.    Lucky Shot USA is a Florida Limited Liability Company with its headquarters located at

3601 Vineland Rd. Suite 14, Orlando, Florida 32811 and whose registered manager is Douglas

Ingalls. Lucky Shot USA promotes, sells and distributes products made from used ammunition

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and artillery shells. Lucky Shot USA operates and does business as the storefront “Lucky Shot

USA” on www.Amazon.com and sells its products in interstate commerce, including the State of

Wisconsin and the Eastern District of Wisconsin.

   3. 2 Monkey is a Florida Limited Liability Company with its headquarters also located at

3601 Vineland Rd. Suite 14, Orlando, Florida 32811 and whose registered manager is also Ingalls.

2 Monkey is the parent company of Lucky Shot USA and designs, promotes, sells, and distributes

products, including Lucky Shot branded products. 2 Monkey acts in concert with Lucky Shot USA

to sell Lucky Shot branded products and sells its products in interstate commerce, including the

State of Wisconsin and the Eastern District of Wisconsin.

   4. Douglas Ingalls is the owner and President of 2 Monkey and Lucky Shot USA. Mr. Ingalls

is a Florida Resident who upon information and belief is domiciled at 112213 Lake Butler Blvd

Windermere, FL 34786.

                                 JURISDICTION AND VENUE

   5.    This action arises under the Lanham Act (15 U.S.C. §§ 1116, 1117, 1118 and 1125(a)).

In addition, BenShot seeks relief under common law. This Court has jurisdiction over the Lanham

Act claim pursuant to 28 U.S.C. §§ 1331. This court has supplemental jurisdiction over the non-

federal common law claims family-owned 28 U.S.C. §1367(a) because these claims are so closely

related that they form part of the same case or controversy.

   6. This court has personal jurisdiction over Lucky Shot USA. Lucky Shot USA conducts

business in this judicial district through purposeful, continuous, and systematic contacts, including

by offering to sell, selling, and promoting the products which are subject to the claims alleged

below.




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    7. This court has personal jurisdiction over 2 Monkey. 2 Monkey conducts business in this

judicial district through purposeful, continuous, and systematic contacts, including by offering to

sell, selling, and promoting the products which are subject to the claims below.

    8. This court has personal jurisdiction over Ingalls because he was responsible for 2 Monkey’s

and Lucky Shot USA’s promotion, advertisement, and selling of the products that are the subject

of this lawsuit in this judicial district.

    9.   This case is properly venued in this district pursuant to 28 U.S.C. §1391(b) and (c)

because Lucky Shot USA and 2 Monkey are both subject to personal jurisdiction in this judicial

district and a substantial part of the events giving rise to BenShot’s claims occurred in this judicial

district and Lucky Shot USA and 2 Monkey engaged in false advertising in this judicial district.

                                         FACTUAL BACKGROUND

    10. BenShot is a family-owned business in Hortonville, Wisconsin, and has manufactured

and sold unique drinking glass designs since 2015 with an emphasis on providing products solely

made in the USA and creating sustainable jobs in the local community.

    11. In 2015 BenShot invented and started selling a series of unique and distinct drinking glass

designs consisting of a projectile embedded in the side of a drinking glass via an indentation in the

glass. The designs included a 0.308 caliber bullet embedded in the side of a shot glass (the

“BenShot Bulletproof Shot Glass”) and a 0.308 caliber bullet embedded in the side of a tumbler

glass (the “BenShot Rocks Glass”), shown by the representative examples below.




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   12. Within a short period of time, BenShot’s unique designs became extremely popular

throughout the United States particularly with firearm enthusiasts, military personnel, veterans,

patriots of the USA, and customers who highly value products made in the USA.

   13. In response to the popularity, BenShot developed and started selling additional unique

designs, including a 0.50 BMG caliber bullet embedded in the side of a pint glass (the “BenShot

Pint Glass”) and a 0.308 caliber bullet embedded in the side of a wine glass (the “BenShot Wine

Glass”), shown by the representative examples below.




   14. In October 2016, Lucky Shot USA started advertising and selling a shot glass with a 0.308

caliber bullet embedded in the side (the “Lucky Shot Bullet Shot Glass”) on at least Amazon.com

and www.LuckyShotUSA.com. A representative sample of the Lucky Shot Bullet Shot Glass is

shown below.

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      15. In March 2017, Lucky Shot USA started selling a whiskey glass with a 0.308 caliber bullet

   embedded in the side (the “Lucky Shot Whiskey Glass”) on at least Amazon.com and

   www.LuckyShotUSA.com. About August 2017 Lucky Shot USA started selling a pint glass with

   a 0.50 BMG caliber bullet embedded in the side (the “Lucky Shot Pint Glass”) and a wine glass

   with a 0.308 caliber bullet embedded in the side (the “Lucky Shot Wine Glass”) on at least

   Amazon.com. A representative sample of the Lucky Shot Whiskey Glass, Lucky Shot Pint Glass

   and Lucky Shot Wine Glass are shown below.




16. Since at least 2017 Lucky Shot USA has operated the website www.MilitaryBalls.com which

   markets, advertises, promotes and sells Lucky Shot branded products to military and veteran

   organizations.




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17. 2 Monkey is listed as the manufacturer of the Lucky Shot Bullet Shot Glass, Lucky Shot Whiskey

   Glass, Lucky Shot Pint Glass, and Lucky Shot Wine Glass by Lucky Shot USA on Amazon.com.

   A printout of the listings taken on October 4, 2018, is attached as Exhibits A – D.

18. The retail packaging of at least the Lucky Shot Bullet Glass, Lucky Shot Whiskey Glass, and

   Lucky Shot Wine Glass states, “Distributed by 2 Monkey Trading, LLC. Packaging and product

   design © 2 Monkey Trading, LLC.”

19. 2 Monkey owns the federal trademark registration to the mark “Lucky Shot.” A copy of the

   resulting Registration, No. 4,608,312, retrieved from the USPTO website is attached as Exhibit E.

20. Lucky Shot USA and 2 Monkey display the terms “U.S.A.” and “HANDCRAFTED” as part of a

   logo (the “Lucky Shot Logo”) used to market, promote and advertise Lucky Shot branded products

   on marketing and advertising materials, product packaging and at least the websites

   LuckyShotUSA.com and 2Monkey.com. A representative sample is shown below.




21. Lucky Shot USA and 2 Monkey advertise and promote the Lucky Shot Bullet Shot Glass as Made

   in USA.

22. Lucky Shot USA and 2 Monkey’s point-of-purchase displays for the Lucky Shot Bullet Shot Glass

   includes in large text, which states “MADE IN THE USA” accompanied by an image of the

   American flag on the display shipper display card. Further, the Lucky Shot Logo is prominently

   displayed on the display shipper display card with the words “U.S.A.” and “HANDCRAFTED.”

   A printout of the display is attached as Exhibit F.

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23. Below are representative examples of Lucky Shot USA and 2 Monkey’s Bullet Shot Glass retail

   packaging which includes the Lucky Shot Logo prominently displayed on the top and both sides

   of the packaging with the words “U.S.A.” and “HANDCRAFTED.”




                                                                    Top View




                       Left Side View                          Right Side View

24. Further, as shown in Exhibit A, Lucky Shot USA states as a key product feature its Amazon.com

   listing for the “Bullet Handblown Shot Glass Gift Set – Set of 4” which includes 4 Lucky Shot

   Bullet Shot Glasses, “Top Premium Quality Brand. Made in the USA[.]”


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25. Lucky Shot USA and 2 Monkey advertise and promote the Lucky Shot Whiskey Glass as Made in

   the USA.

26. Lucky Shot USA and 2 Monkey’s point-of-purchase displays for the Lucky Shot Whiskey Glass

   include large text which states, “MADE IN THE USA” accompanied by an image of the American

   flag on the display shipper display card. Further, the Lucky Shot Logo is prominently displayed

   on the display shipper display card with the words “U.S.A.” and “HANDCRAFTED.” A printout

   of the display is attached as Exhibit G.

27. As shown in Exhibit B, in its listing on Amazon for the Lucky Shot Whiskey Glass, Lucky Shot

   USA displays partial images of the American flag in front of an image of the Lucky Shot Whiskey

   Glass and also displays in large text, “MADE IN THE USA” at the bottom of the listing.

28. Below are representative examples of Lucky Shot USA and 2 Monkey’s Lucky Shot Whiskey

   Glass retail packaging which includes prominently displayed on the top and both sides of the

   packaging with the words “U.S.A.” and “HANDCRAFTED.”




                                                                 Top View




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                       Left Side View                      Right Side View

29. Lucky Shot USA and 2 Monkey advertise and promote the Lucky Shot Pint Glass and Lucky Shot

   Wine Glass as Made in USA.

30. Below is a representative example of the product packaging for the Lucky Shot Pint Glass and

   Lucky Shot Wine Glass which both include the Lucky Shot Logo prominently displayed on the

   top and on both sides of the packaging with the words “U.S.A.” and “HANDCRAFTED.”




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31. As Exhibits C and D illustrate, Lucky Shot USA also states as a key product feature in its

   Amazon.com listings for the Lucky Shot Pint Glass and the Lucky Shot Wine Glass, “Top Brand

   items made right here in the USA.” In addition, Lucky Shot USA also displays as part of its listings

   partial images of the American flag in front of an image of the Lucky Shot Pint Glass and in front

   of the Lucky Shot Wine Glass.

32. Lucky Shot USA represents its entire product line as Made in USA.

33. As of at least September 10, 2018, Lucky Shot USA states in a welcome letter to new newsletter

   subscribers, “Each Lucky Shot USA product is American made to cater to the discriminating eye

   of historians and collectors alike.” Further, the newsletter includes the words “MADE IN THE

   USA” as part of the Lucky Shot Logo, which appears directly above the Lucky Shot Bullet Shot

   Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass, and Lucky Shot Wine Glass. A printout

   of the newsletter is attached as Exhibit H.

34. Lucky Shot USA’s Instagram account profile states, “Our products are proudly made in the USA!”

   and Lucky Shot USA’s profile image also states, “MADE IN THE U.S.A.” Further, photos of the

   Lucky Shot Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot

   Wine Glass are posted shortly below the made in USA claims. A printout of the first few pages of

   LuckyShot’s Instagram profile accessed on October 3, 2018, is attached as Exhibit I and also

   available at: https://www.instagram.com/luckyshotusa/.

35. Lucky Shot USA displays on the website, LuckyShotUSA.com, the words “MADE IN THE USA”

   as part of its newsletter subscription section at the bottom of each page on the website. A printout

   of the homepage of www.LuckyShotUSA.com as of October 3, 2018, is attached as Exhibit J.




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36. Lucky Shot USA states on its website, www.MilitaryBalls.com, “Proudly Made in America”

   display in front of a picture of at least the Lucky Shot Bullet Shot Glass. A printout of the

   homepage of www.MilitaryBalls.com accessed on October 12, 2018, is attached as Exhibit K.

37. Lucky Shot USA advertises on Google.com stating, “Lucky Shot USA | Handcrafted in the USA |

   LuckyShotUSA.com.” A printout of a search completed on Google.com on October 3, 2018, for

   the terms “Made in China Lucky Shot USA” is attached as Exhibit L.

38. Lucky Shot USA has the term “USA” as part of its legal business name, Lucky Shot USA.

39. LLC. Lucky Shot USA operates the website domain www.LuckyShotUSA.com, which contains

   the term “USA” as part of the domain name.

40. 2 Monkey represents the entire Lucky Shot branded product line is Made in USA.

41. 2 Monkey displays the Lucky Shot Logo, which includes the terms “U.S.A” and “HANDMADE”

   within the Logo, on all Lucky Shot branded product packaging.

42. 2 Monkey advertises Lucky Shot branded products using the Lucky Shot Logo with the term

   “U.S.A” replaced with “MADE IN THE USA” on its website, www.2monkey.com. A printout of

   the homepage of www.LuckyShotUSA.com as of October 3, 2018, is attached as Exhibit M.

43. In response to Lucky Shot USA and 2 Monkey’s advertising of at least the Lucky Shot Bullet Shot

   Glass and the Lucky Shot Whiskey Glass as Made in USA, BenShot became increasingly

   concerned Lucky Shot branded products, and more specifically the Lucky Shot Bullet Shot Glass

   and the Lucky Shot Whiskey Glass was not in fact made in the USA despite being claimed as such.

44. In March of 2017, Ben Wolfgram (“Wolfgram”) from BenShot had a phone conversation with

   Ingalls from Lucky Shot USA and 2 Monkey about their copying of BenShot’s Bulletproof Shot

   Glass and BenShot Rocks Glass designs and competitive behavior.




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45. During the conversation, Ingalls admitted the drinking glass with the indentation for the bullet

   already formed in the glass (the “Glass Portion”) of the Lucky Shot Bullet Shot Glass and the

   Lucky Shot Whiskey Glass were made in China and not made in the USA.

46. In May of 2018 Wolfgram of BenShot had another phone conversation with Ingalls from Lucky

   Shot USA and 2 Monkey where Ingalls again admitted the Glass Portion of at least the Lucky Shot

   Bullet Shot Glass and Lucky Shot Whiskey Glass were made in China and not made in the USA.

47. 2 Monkey offers the Lucky Shot Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint

   Glass and Lucky Shot Wine Glass for sale on at least www.2monkey.com and the international

   product sourcing website Alibaba.com. A printout of 2 Monkey’s listings for the Lucky Shot Bullet

   Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine Glass as of

   October 2, 2018, is attached as Exhibits N - Q.

48. 2 Monkey states in its Company Overview on its Alibaba.com company profile page, “Our

   products are designed and developed in the USA and contract manufactured in China.” A printout

   of 2 Monkey’s Company Overview from September 13, 2018, is attached as Exhibit R.

49. As shown in the image below, taken on October 11, 2018, the bottom panel of the packaging for

   the Lucky Shot Whiskey Glass states, “Glass and packaging made in China.”




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50. Upon information and belief, Lucky Shot has sold the Lucky Shot Whiskey Glass with packaging

   that did not disclose that the glass and packaging were made in China.

51. Upon information and belief, Lucky Shot USA boldly and falsely states and suggests the Lucky

   Shot Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine

   Glass are Made in USA without qualification.

52. Upon information and belief, 2 Monkey boldly and falsely state and suggest the Lucky Shot Bullet

   Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass, and Lucky Shot Wine Glass are

   Made in the USA without qualification.

53. According to the Federal Trade Commission (“FTC”), in order for a product to be called “Made

   in USA,” without qualifications or limits on the claim it must be the product must be ‘all or

   virtually all’ made in the U.S. Attached as Exhibit S is a copy of the FTC’s manual as of September

   13, 2018, “Complying with the MADE IN USA STANDARD.” (the “FTC Manual”). The FTC

   Manual        is     also      accessible       at:     https://www.ftc.gov/tips-advice/business-

   center/guidance/complying-made-usa-standard. The FTC Manual further defines “all or virtually

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   all” as “all significant parts and processing that go into the product must be of U.S. origin. That is,

   the product should contain no – or negligible – foreign content.”

54. By importing at least the Glass Portion of the Lucky Shot Bullet Shot Glass from China, the Lucky

   Shot Bullet Shot Glass does not contain “no or – negligible – foreign content.”

55. By importing at least the Glass Portion of the Lucky Shot Whiskey Glass from China, the Lucky

   Shot Whiskey Glass does not contain “no or – negligible – foreign content.” By importing at least

   the Glass Portion of the Lucky Shot Pint Glass from China, the Lucky Shot Pint Glass does not

   contain “no or – negligible – foreign content.”

56. By importing at least the Glass Portion of the Lucky Shot Wine Glass from China, the Lucky Shot

   Wine Glass does not contain “no or – negligible – foreign content.”

57. Upon information and belief Lucky Shot USA boldly and falsely state and suggest all its products

   as Made in USA without qualification.

58. Upon information and belief, 2 Monkey boldly and falsely state and suggest the entire Lucky Shot

   branded product line is Made in USA without qualification.

59. The FTC Manual also states, “Manufacturers and marketers should not indicate, either expressly

   or implicitly, that a whole product line is of U.S. origin (‘Our products are made in the USA’)

   when only some products in the product line are made in the U.S. according to the ‘all or virtually

   all’ standard.”

60. By making improper unqualified Made in USA statements and representations on its product

   packaging, websites, advertising, and marketing materials relating to the Lucky Shot Bullet Shot

   Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass, Lucky Shot Wine Glass and the entire

   line of Lucky Shot branded products, Defendants are making false and misleading material

   statements of fact, that are causing and likely to continue to cause injury to BenShot due to the



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   significance and value that “buying American” has on potential and actual customers of the

   products BenShot sells.

61. A Consumer Reports survey from 2015 found that 77 percent of Americans are willing to pay

   more for a product that has a Made in America claim. See “What does the ‘Made in America’ label

   really        mean?”       Consumer        Reports,       July       2015,       available       at:

   www.consumerreports.org/cro/magazine/2015/07/from-our-president-july-2015/index.htm (last

   visited September 26, 2018).

62. BenShot has spent and continues to spend substantial financial resources in creating and

   maintaining a glass manufacturing facility as well as advertising and promoting all of its unique

   and distinct designs as made in the U.S.A., an extremely important factor to its customers and their

   purchasing decisions.

63. As such, Lucky Shot USA and 2 Monkey’s wrongful conduct in marking and promoting improper

   unqualified claims and representations the Lucky Shot Bullet Shot Glass, Lucky Shot Whiskey

   Glass, Lucky Shot Pint Glass and Lucky Shot Wine Glass products as Made in USA when they

   are not has egregiously injured BenShot and has been undertaken willfully and with Lucky Shot

   USA and 2 Monkey’s intent and knowledge that such action would cause confusion, mistake, or

   deception among the public.

64. Lucky Shot USA and 2 Monkey, by indicating expressly and implicitly all of the Lucky Shot

   branded product line is of U.S. origin has caused further injury to BenShot and has been undertaken

   willfully and with intent and knowledge that such action would cause, mistake, or deception among

   the public.




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65. Lucky Shot USA is currently promoting the sale of the Lucky Shot Bullet Shot Glass, Lucky Shot

    Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine Glass as Made in USA on its website

    www.luckyshotusa.com, Amazon.com and in interstate commerce.

66. 2 Monkey is currently promoting the sale of the Lucky Shot Bullet Shot Glass, Lucky Shot

    Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine Glass as Made in USA on its website

    www.2monkey.com, Alibaba.com and in interstate commerce.

67. Lucky Shot USA sells Lucky Shot branded products, including at least the Lucky Shot Bullet Shot

    Glass, Lucky Shot Whiskey Glass and Lucky Shot Wine Glass to customers in this judicial district

    including but not limited to through its storefront on Amazon.com. An image of the Lucky Shot

    products and an October 9, 2018, receipt of the product purchased is attached as Exhibits T - W.

68. 2 Monkey sells products at retail locations in this judicial district, including but not limited to Fleet

    Farm located at 3035 W. Wisconsin Avenue, Appleton, WI 54914. An image of the product and

    a September 17, 2018 receipt of the product is attached as Exhibits X and Y.

                                              COUNT I
                     Section 43(a) of the Lanham Act False Designations of Origin
                                    Lucky Shot USA And 2 Monkey


69. BenShot repeats its allegations set forth in paragraphs 1-68 above with if set forth herein in their

    entirety.

70. Lucky Shot USA sells unique drinking glasses in interstate commerce in the same markets and

    trade channels as BenShot.

71. 2 Monkey sells unique drinking glasses in interstate commerce in the same markets and trade

    channels as BenShot.

72. Lucky Shot USA and 2 Monkey’s improper unqualified use of Made in USA claims in connection

    to the Lucky Shot Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky

                                                       16

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   Shot Wine glass falsely designates the origin of these products and falsely represent the Lucky

   Shot Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine

   Glass as made in USA. As a result, the public and purchasers believe that at least the Lucky Shot

   Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine Glass

   originate from the USA when they do not.

73. Lucky Shot USA and 2 Monkey’s improper unqualified use of Made in USA claims in connection

   with the entire product line of Lucky Shot branded products falsely suggests and designates the

   origin of products and falsely represent are all made in the USA. As a result, the public and

   purchasers to believe that all Lucky Shot branded products originate from the USA when they do

   not.

74. Lucky Shot USA and 2 Monkey’s wrongful conduct constitutes the improper use in Commerce of

   a symbol, devise or combination thereof, and a false designation of origin, which is likely to

   deceive as to the origin, or cause consumer confusion, or to cause mistake, sponsorship, or

   approval in violation of Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a).

75. As a direct and proximate result of Lucky Shot USA and 2 Monkey’s actions, BenShot has been

   and continues to be damaged by Lucky Shot USA and 2 Monkey’s acts in an amount not yet

   determined, which BenShot is entitled to recover. BenShot is entitled to injunctive relief and to all

   other remedies provided by law, including without limitation those set forth in 15 U.S.C. §§ 1116,

   1117, and 1118.

                                                COUNT II
                                     Section 43(a) of the Lanham Act
                                       False Designations of Origin
                                     AGAINST DOUGLAS INGALLS

76. BenShot repeats its allegations set forth in paragraphs 1-75 above with if set forth herein in their

   entirety.

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77. Under the Lanham Act, a corporate officer may be held personally liable for the tortious conduct

   where the officer is a moving, active conscious force behind the defendant companies’ false

   designation of origin.

78. As the owner and president of 2 Monkey and Lucky Shot USA, Douglas Ingalls had personal

   knowledge that his companies’ representations that the Lucky Shot Bullet Shot Glass, Lucky Shot

   Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine Glass as made in USA were untrue.

79. Mr. Ingalls was responsible for 2 Monkey and/or Lucky Shot USA’s decision to have the Lucky

   Shot Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass, and the Lucky Shot

   Wine Glass manufactured in China.

80. Mr. Ingalls was responsible for communicating with the Chinese glass suppliers regarding Lucky

   Shot USA and/or 2 Monkey purchase of the Lucky Shot Bullet Shot Glass, Lucky Shot Whiskey

   Glass, Lucky Shot Pint Glass, and Lucky Shot Wine Glass.

81. Mr. Ingalls was responsible for marketing the Lucky Shot Bullet Shot Glass, Lucky Shot Whiskey

   Glass, Lucky Shot Pint Glass, and Lucky Shot Wine Glass in a manner that was intentionally

   deceiving or misleading to Lucky Shot USA’s and 2 Monkey’s Customers as to origin of these

   products in the manner described in this Complaint.

82. Mr. Ingalls had personal knowledge that Lucky Shot USA and/or 2 Monkey were attempting to

   mislead potential customers as to country of the product’s origin. For example, Mr. Ingalls

   directed the Chinese glass manufacturer to take close up photos and videos of the glass making

   process. Mr. Ingalls informed the Chinese manufacturer that it is “very important to our

   media/advertising” that the photos and videos “do not show faces of workers or any words or

   writing in Chinese. We want our customers to think this product could be made in USA.”




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83. Mr. Ingalls is therefore jointly and severally liable for the tortious conduct of Lucky Shot USA

   and 2 Monkey.

                                 SECOND CLAIM FOR RELIEF
                           AND SUPPORTING FACTUAL ALLEGATIONS
                                 Common-Law Unfair Competition

84. BenShot repeats its allegations set forth in paragraphs 1-83 above with the

   as if set forth herein in their entirety.

85. Taken as a whole, Lucky Shot USA and 2 Monkey’s actions in making improper unqualified made

   in USA claims by improperly marketing, advertising, promoting, and marking the entire product

   line of Lucky Shot branded products, and more specifically the Lucky Shot Bullet Shot Glass,

   Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine Glass products as made

   in USA when they are not in an attempt to cause confusion in the marketplace with the intent to

   deceive consumers.

86. Lucky Shot USA’s and 2 Monkey’s wrongful conduct constitutes unfair methods of competition

   and unfair and deceptive acts or practices in trade or commerce and creates a likelihood of

   confusion, misunderstanding, or deception in the public’s minds as to the origin of the parties’

   goods.

87. Lucky Shot USA and 2 Monkey’s unlawful actions have resulted in unjust enrichment of Lucky

   Shot USA and 2 Monkey and have caused BenShot to suffer substantial damage.

88. As such, Lucky Shot USA and 2 Monkey’s conduct causing confusion, mistake, or deception

   constitutes common law unfair competition.

                                               JURY DEMAND

       BenShot demands a trial by jury on all issues triable by a jury.

                                          REQUEST FOR RELIEF



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       WHEREFORE, BenShot prays that this Court enter judgment in its favor against

Lucky Shot USA and 2 Monkey as follows:

       A. A permanent injunction enjoining and restraining Lucky Shot USA and 2 Monkey, its

           officers, managers, agents, servants, employees, attorneys, parents, subsidiaries, and

           related companies from:

               1. using unqualified Made in USA claims or representations in

               connection with the advertising, promotion, offering for sale of drinking glasses

       where such products were not manufactured in the United States of America; and

               2. otherwise competing unfairly with BenShot.

       B. Finding that Lucky Shot USA and 2 Monkey have unfairly competed with BenShot by

           the acts complained of herein.

       C. Finding that Ingalls directed Lucky Shot USA and 2 Monkey’s tortious conduct.

       D. Directing that Lucky Shot USA and 2 Monkey destroy at Lucky Shot USA and 2

Monkey’s cost all signs, products, packaging, promotional material, advertising material, catalogs,

and any other items relating to Lucky Shot branded products, the Lucky Shot Bullet Shot Glass,

Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine Glass that bear or suggest

improper unqualified Made in USA claims or representations.

       E. Directing that Lucky Shot USA and 2 Monkey recall from all distributors, retailers, or

other recipients any and all Lucky Shot Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot

Pint Glass, Lucky Shot Wine Glass, and Lucky Shot branded product and packaging that bear or

suggest improper unqualified Made in USA claims or representations sold or distributed by Lucky

Shot USA and 2 Monkey and, upon recall, to deliver such goods up to BenShot’s counsel for

destruction or donation at Lucky Shot USA and 2 Monkey’s costs.



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       F.      Directing that Lucky Shot USA and 2 Monkey engage in corrective advertising

designed to inform past, present, and potential consumers of each and every Lucky Shot branded

product with improper unqualified Made in USA claims or representations, including the Lucky

Shot Bullet Shot Glass, Lucky Shot Whiskey Glass, Lucky Shot Pint Glass and Lucky Shot Wine

Glass, or in a manner directed by the court.

       G.      That Lucky Shot USA and 2 Monkey be required, in accordance with Section 34(a)

of the U.S. Trademark Act, 15 U.S.C. §1116(a), to file with the Court and serve upon BenShot, a

report in writing, under oath, setting forth in detail the manner and form in which Lucky Shot USA

and 2 Monkey have complied with the terms of any injunction entered by this Court.

   H. Requiring Lucky Shot USA and 2 Monkey to account for and pay over to BenShot all

profits realized by it by reason of its unlawful acts in violation of false advertising and unfair

competition.

   I. A finding that this case is exceptional within the meaning of 15 U.S.C. §1117(a) for reason

of Lucky Shot USA and 2 Monkey’s conduct.

   J. BenShot’s actual cost in bringing this civil action, including actual and reasonable

attorneys’ fees pursuant to 15 U.S.C. §1117(a).

   K. A finding that Ingalls is jointly and severally liable for 2 Monkey and Lucky Shot USA’s

tortious conduct.

   L. An order requiring Lucky Shot USA and 2 Monkey to pay BenShot punitive damages in

an amount as yet undetermined caused by the foregoing acts of Lucky Shot USA and 2 Monkey.

   M. Any other relief determined by the Court.


   Dated this 30th day of December 2019.




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                            Respectfully submitted,

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